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                        In the United States Court of International Trade


SEA SHEPHERD NEW ZEALAND et al.,
                                                     Civil Action No. 1:20-cv-00112-GSK
                Plaintiffs,
                                                     Before: Judge Gary S. Katzmann
           v.
                                                     ORDER GRANTING UNOPPOSED
WILBUR ROSS et al.,                                  MOTION FOR WITHDRAWAL OF
                                                     ATTORNEYS CATHERINE
                Defendants,                          PRUETT AND BRETT
                                                     SOMMERMEYER AS COUNSEL OF
and                                                  RECORD

NEW ZEALAND GOVERNMENT,

                Defendant-Intervenor.




                                             Order

      Upon consideration of Plaintiffs’ Motion for Withdrawal of Attorneys Catherine Pruett

and Brett Sommermeyer as Counsel of Record, it is hereby ORDERED that:

      1.        Plaintiffs’ Motion for Withdrawal of Attorneys Catherine Pruett and Brett

Sommermeyer as Counsel of Record is granted.

      2.        Catherine Pruett and Brett Sommermeyer are withdrawn from this matter.



      Date: August 8, 2022



                                                    /S/ Gary S. Katzmann
                                                    Hon. Gary S. Katzmann
                                                    Court of International Trade
